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                                IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                        CHARLOTTE DIVISION
                                         CRIMINAL NO.:3:15cr1 21‑RJC

        UNITED STATES OF AⅣ lERICA                            )
                                                                  )   CONSENT ORDER AND
                v。                                    )               」UDGMENT OF FORFEITURE
                                                                  )   PENDING RULE 32.2(c)(2)
        (34)ALBERT VELA― GARCIA                           )
                BASED UPON the Defbndant's plea of guilty and flnding that there is a nexus bctwccn
        the property listed below and the offense(s)to WhiCh the Defendallt has pled guilty and that the
        Defendant(or any Combination of Defendants in this casc)has Or had a possessow intcrest or
        othcr legal interest in the propcrty,ITIS HEREBY ORDERED THAT:

               l. Thc following propctty is forfeited to the Unked States pursuant to 18 U.S.C.§
        1963,providcd,however,that forfeiture of specinc assets is suttect tO any and aH third party
        petitions under 21 U.S.C.§ 853(n),pCnding flnal attudiCation herein:

           e    One Rossi/Taurus model R351 .38 caliber revolver, seriai number TE3526 and
                arnlllunltlon
           0    0nc Herbert Schrnidt Sierra.38 caliber revolver,scrial numbcr 14804 and alllinunition
           e Walther(imported by Smith&Wesson)model P22.22 calibcr pistol,serial number
              L207092 and alninunition
           ● One HiPoint rnodcl C9 9Π lrn pistol,serial number P1 605838 and anllnunition
            0 0ne HiPoint model C9 9mm pistol,serial number P190145 and ammunition
            o Onc Pietro Bcretta lllode1 92FS 91■ m pistol,serial nulη bcr L77605Z and ammunition
            0 0ne lmbel(importcd by Sp」 ngneld)modc1 191lAl .45 caliber pistol,sc面 al number
               WW59604 and anllnunition
            o 01lc Glock modc1 26 9mm pistol,serial numbcr NXD210 and alnmunition
            0 0ne CZ Model CZ52 9mm pistol,serial number C07417 and ammunition
            0 0ne Harrinざ on&Richardson mode1 732.32 caliber rcvolvcr,scrial numbcr AD9172
                and alnlnunition
            e Onc HS Products(ilnported by Springfleld)Model xD40.40 caliber,serial number
               US227513 and aminunition
            o   Onc Chalter AInis Undercovcr model .38 calibcr rcvolvcr, serial numbcr 431201 and
                alllrnunition
            0   0nc Colt.223 assault rifle,serial numbcr CCH018304 and anllnunition
            ● One Taurus modcl PT709 Slim 9mm pistol.serial number THW15322 and al■              munition
            O Approximately$987.00 in United States curcncy
            O Approximately$120.00 in Unitcd Statcs currency
            O   Approxilnately$3,338.00 in l」 nited States currency
            O One BB gun w/MS 13 etchings




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    .   One Keltec Pl I 9mm pistol, serial number A3M63 and ammunition
    .   One Browning Buckmark 22 caliber pistol. serial number 655NT I 3216 and ammunition

        2.      The United States Marshals Service, the investigative agency, and/or the agency
contractor is authorized to take possession and maintain custody of the above specific asset(s).

        3. If and to the extent required by Fed. R. Crim. P.32.2(b)(6),21 U.S.C. $ 853(n),
and/or other applicable law, the United States shall publish notice and provide direct written
notice of forfeiture.

        4. Any person, other than the Defendant. asserting any legal interest in the property
may,   within thirty days of the publication of notice or the receipt of notice, whichever is earlier,
petition the court for a hearing to adjudicate the validity of the alleged interest.

        5.      Pursuant to Fed. R. Crim. P.32.2(b)(3), upon entry of this order, the United States
Attorney's Office is authorized to conduct any discovery needed to identify, locate. or dispose of
the property, including depositions, interrogatories, and request for production of documents, and
to issue subpoenas pursuant to Fed. R. Civ. P. 45.

        6.      As to any specific assets, following the Court's disposition of all timely petitions,
a final order of forfeiture shall be entered. lf no third party files a timely petition, this order shall
become the final order of forfeiture. as provided by Fed. R. Crim. P.32.2(c)(2), and the United
States shall have clear title to the property. and shall dispose of the property according to law.

         The parties stipulate and agree that the aforementioned asset(s) constitute property
derived from or traceable to proceeds of Defendant's crime(s) herein or property used in any
manner to facilitate the commission of such offense(s) and are therefore subject to forfeiture
pursuant to l8 U.S.C. $ 1963. The Defendant hereby waives the requirements of Fed. R. Crim. P.
32.2 and 43(a) regarding notice of the forfeiture in the charging instrument, announcement of the
forfeiture at sentencing, and incorporation of the forfeiture in the judgment against Defendant. If
the Defendant has previously submitted a claim in response to an administrative forfeiture
proceeding regarding any of this property, Defendant hereby withdraws that claim. If Defendant
has not previously submitted such a claim, Defendant hereby waives all right to do so. As to any
firearms listed above and/or in the charging instrument, Defendant consents to destruction by
federal, state, or local law enforcement authorities upon such legal process as they, in their sole
discretion deem to legally sufficient, and waives any and all right to further notice of such
process or such destruction.

JILL WESTMORELAND ROSE
UNITED STATES ATTORNEY


  ″      L″           氏
                                                         ALBLRT VELA― GARCIA
ELZIABETH F.GREENE
WILLIAM M.MILLER
Assistant United States Attorneys
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                                                       Wバ RD QUANDER,JR。    ,




Signed this the   f-day   of December, 2015.




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